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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ROBERT BARTLETT, et al.,                            :
                                                     :
                               Plaintiffs,           :
                                                     : No. 1:19-cv-00007-CBA-VMS
                      -v-                            :
                                                     :
 SOCIÉTÉ GÉNÉRALE DE BANQUE AU LIBAN SAL, et al., :
                                                     :
                               Defendants.
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                RULE 7.1 STATEMENT OF DEFENDANT BLOM BANK SAL

        Pursuant to Federal Rule of Civil Procedure 7.1, Defendant BLOM Bank SAL makes the

 following disclosure through its undersigned counsel:

        BLOM Bank SAL is a Lebanese joint stock company and is traded on the Beirut Stock

 Exchange. Global Depositary Receipts representing shares of BLOM Bank SAL are registered

 on the Luxembourg Stock Exchange and traded on the London Stock Exchange and Beirut Stock

 Exchange. BLOM Bank SAL has no parent corporation and no publicly held corporation owns a

 beneficial interest in 10 percent or more of its stock.



  Dated: New York, New York                          Respectfully Submitted,
         March 4, 2019
                                                     DECHERT LLP

                                                     By: /s/    Linda C. Goldstein
                                                                Linda C. Goldstein

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                                                     Attorneys for Defendant BLOM Bank SAL
